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UNITED STATES DISTRICT CO JUN 10 2015
EASTERN DISTRICT OF MICHIG
SOUTHERN DIVISION, SERKSOFEE.,
EASTERN MICHIGAN
KEVIN COOPER and BRENDA COOPER,
Plaintiff, CASE NO.: 13-cv-12740

Hon. Judith Levy
VS.

TEMPLE-INLAND, INC. et al.,

Defendants.
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JURY NOTES

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